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 4
     Attorney for Defendant, Juan Gonzalez Mejia
 5
 6                               IN THE UNITED STATES DISTRICT COURT
 7                                  EASTERN DISTRICT OF CALIFORNIA

 8
                                                     )
     UNITED STATES OF AMERICA,                       )    Case No.: 1:18-CR-00073-LJO-SKO-2
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                                                     )
                    Plaintiff,                       )    STIPULATION AND ORDER TO
10
                                                     )    CONTINUE SENTENCING SET FOR
     vs.                                             )    DECEMBER 9, 2019
11
                                                     )
12                                                   )    Courtroom 3
                                                     )    Hon. Judge Lawrence J. O’Neill
     JUAN DANIEL GONZALEZ-MEJIA,                     )
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                                                     )
                    Defendant.                       )
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15
            IT IS HEREBY STIPULATED by and between Jeffrey T. Hammerschmidt, attorney for
16
     the above-named defendant Juan Daniel Gonzalez-Mejia, and Thomas Newman, Assistant
17
     United States Attorney, that the Sentencing set for December 9, 2019 at 8:30 a.m. be continued
18
     to February 18, 2020 (or another date in February that is preferable to the court).
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            The stipulation is based on good cause, in that a legal issue has recently arisen that both
20
     parties require time to resolve.
21
22   Dated: December 5, 2019                                /s/ Jeffrey T. Hammerschmidt
                                                            JEFFREY T. HAMMERSCHMIDT
23                                                          Attorney for Juan Gonzalez Mejia
24
     SO STIPULATED
25
     Dated: December 5, 2019                                McGREGOR W. SCOTT
26                                                          United States Attorney
27                                                       By: /s/ Thomas M. Newman_________________
                                                             Thomas M. Newman
28                                                           Assistant United States Attorney
                                                      1
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                                                  ORDER
 1
              The Court has reviewed and considered the stipulation of the parties to continue the
 2
 3   Sentencing set for December 9, 2019 at 8:30 a.m. Good cause appearing, it is hereby ordered

 4   that the Sentencing set for Monday, December 9, 2019 at 8:30 a.m. be continued to February 18,

 5   2020.

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 7
     IT IS SO ORDERED.
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 9      Dated:      December 5, 2019                        /s/ Lawrence J. O’Neill _____
                                                   UNITED STATES CHIEF DISTRICT JUDGE
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